 

From: Terrence Reid [mailto:treid@stmatthews.edu]
Sent: Monday, September 24, 2018 10:21 AM

To: ‘aestrada@stmatthews.edu'
Subject: St. Matthew's University_RE: Step 2 CK_Step 2 CS Exam Requirements

Dear Mr. Estrada,

As a reminder, the Clinical Handbook posted on SMU Online indicates that “in order to be certified by the university for
Step 2 CK and/or Step 2 CS, the student may be required to take additional step(s) to demonstrate comprehensive
proficiency in the clinical sciences”.

For that reason, any student who has failed one (1) or more shelf exam(s) will be required to do the following to
demonstrate comprehensive proficiency in the clinical sciences prior to being certified by the university for USMLE Step 2
CK. These requirements are based on our experience with helping other students who find themselves in your situation.

e Pass the NBME Comprehensive Clinical Science Exam (CCSE) with a minimum score (76) equivalent to a Step 2
CK score of 215

All students are initially allowed a maximum of two (2) times to pass the NBME CCSE with a minimum score (76)
equivalent to a Step 2 CK score of 215. If you do not pass the NBME CCSE with a minimum score (76) equivalent to a
Step 2 CK score of 215, you will be required to enroll in an SMU approved Step 2 CK Commercial Review Course.

lf required, after successfully completing an SMU approved Commercial Review Course, including an end of course
evaluation examination that predicts a reasonable probability of success on the NBME CCSE, you will be required to
retake and pass the NBME CCSE with a minimum score (76) equivalent to a Step 2 CK score of 215 prior to being
certified by the university for USMLE Step 2 CK.

Furthermore, any student who has failed one (1) or more shelf exam(s) will be required to pass the Step 2 CK exam
prior to being certified by the University for USMLE Step 2 CS.

St. Matthew's University School of Medicine is committed to your success. Please contact me via telephone or email if
you have any additional questions.

Sincere regards,

Dr. Reid, Ed.D.

Associate Dean of Clinical Students
St. Matthew's University

School of Medicine
http://stmatthews.edu
800-498-9700 Ext. 1000

Phone: 407-488-1712

Fax: 815-377-3726
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